UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                 3/6/2020

JOEL RICH, et al.,

                                            Plaintiffs,               18-CV-2223 (GBD)(SN)

                          -against-                                           ORDER

FOX NEWS NETWORK LLC, et al.,

                                             Defendants.
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SARAH NETBURN, United States Magistrate Judge:

        On February 18, 2020, the Honorable George B. Daniels referred Defendant Ed

Butowsky’s Motion to Dismiss (ECF No. 51) to me for a report and recommendation. By letter

dated February 12, 2020 (ECF No. 110), Mr. Butowsky indicated his intent to renew that motion

following Judge Daniels’s memorandum decision and order (ECF No. 69) and the Court of

Appeals’ decision (ECF No. 72).

        There is a discovery conference scheduled for Tuesday, March 10, 2020, at 4:30 p.m.

EDT to address issues related to ESI protocol. At that conference, Plaintiffs and Mr. Butowsky

should be prepared to discuss whether either party requests permission to file supplemental

briefing in connection with Mr. Butowsky’s motion to dismiss. In addition, the Court will

address the filing under seal of Plaintiffs’ February 13, 2020 letter (ECF No. 111). Mr.

Butowsky is ORDERED to appear at this conference but may do so by telephone. By Monday,

March 9, 2020, he must contact the Court to provide a telephone number at which the Court can

reach him on March 10, 2020.

SO ORDERED.


 DATED:           March 6, 2020
                  New York, New York

cc:               Ed Butowsky (by email)
